     Case 1:22-cv-03235-JPO-KHP          Document 89       Filed 06/27/22     Page 1 of 1

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+RQ-3DXO2HWNHQ
7KXUJRRG0DUVKDOO8QLWHG6WDWHV&RXUWKRXVH
&RXUWURRP
)ROH\6TXDUH
1HZ<RUN1<

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'HDU-XGJH2HWNHQ
,UHSUHVHQW3ODLQWLII1LHOVHQ&RQVXPHU//& ³1LHOVHQ,4´ LQFRQQHFWLRQZLWKWKHDIRUHPHQWLRQHG
PDWWHU,QUHVSRQVHWR7KH13'*URXS,QF¶V ³13'´ 0RWLRQWR'LVPLVVDQGSXUVXDQWWR5XOH
'RI-XGJH2HWNHQ¶VLQGLYLGXDOSUDFWLFHV1LHOVHQ,4LQWHQGVWRDPHQGLWV&RPSODLQW3XUVXDQW
5XOH D  % RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH1LHOVHQ,4ZLOOILOHLWV)LUVW$PHQGHG
&RPSODLQWE\-XO\

7KDQN\RX

/s/ Joshua Berman
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